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                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                    STATE SBORO DIVISION
STEVEN BLAKE CUMMINGS,     )
    Movant,                )
V.                         )                      Case No. CV616-080
                           )                               CR615-001
UNITED STATES OF AMERICA, )
    Respondent.            )
                       ORDER

      Let a copy of this Report and Recommendation be served upon counsel for

the parties. Any objections to this Report and Recommendation must be filed

with the Clerk of Court not later than July 13, 2016. The Clerk shall submit this

Report and Recommendation together with any objections to the Honorable Lisa

Godbey Wood, Chief Judge, on July 14, 2016. Failure to file an objection within

the specified time means that this Report and Recommendation may become the

opinion and order of the Court, Nettles v. Wainwright. 677 F.2d 404 (5th Cir.

1982), and further waives the right to appeal the District Court's Order. Thomas

v. Am. 474 U.S. 140 (1985).

      All requests for additional time to ifie objections to this Report and

Recommendation should be filed with the Clerk for consideration by the District

Judge to whom this case is assigned.

      SO ORDERED this 29th day of June, 2016.


                                                   UNiTED STATES MAGISTRATE JUDGE
                                                   SO1JHERN DISTRICT OF GEORGIA
